         Case 1:64-cv-03787-LLS Document 149 Filed 03/09/23 Page 1 of 2




                                     SC O TT A . E DE LM AN
                                              Chairman
                            55 Hudson Yards | New York, NY 10001-2163
                                          T: 212.530.5149
                               sedelman@milbank.com | milbank.com




March 9, 2023

BY ECF

Honorable Louis L. Stanton
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

       Re:      United States v. Broadcast Music, Inc., 64-cv-03787 (LLS)

Dear Judge Stanton:

       We write on behalf of Broadcast Music, Inc. (“BMI”) regarding BMI’s pending
Application for Construction of Broadcast Music, Inc.’s Consent Decree Pursuant to Article XIII
of the Decree and 28 U.S.C. § 137(b)(2), ECF No. 139 (the “Application”). The Application
addresses whether the BMI Consent Decree precludes a joint rate court proceeding against BMI
and the American Society of Composers, Authors and Publishers,1 or whether such proceedings
are permitted under the Music Modernization Act.

       The Application has been fully briefed. See ECF Nos. 139, 143, 145. To the extent that
the Court believes that it would benefit from a conference to discuss the Application, or other
issues related thereto, BMI will endeavor to make itself available at the Court’s earliest
convenience.




1
  On July 19, 2022, the Hon. John P. Cronan issued an order staying the joint rate court proceeding
that is the subject of the Application until after final resolution of the Application in this Court.
See Radio Music License Comm., Inc. v. Am. Soc’y of Composers, Authors and Publishers and
Broad. Music, Inc., 22-cv-05023, ECF No. 31.
        Case 1:64-cv-03787-LLS Document 149 Filed 03/09/23 Page 2 of 2


Hon. Louis L. Stanton
March 9, 2023

                                                   Respectfully submitted,
                                                   /s/ Scott A. Edelman
                                                   Scott A. Edelman


cc:    Yvette F. Tarlov, Chief, Media, Entertainment, and Professional Services Section, United
       States Department of Justice (via email)
       Owen M. Kendler, Chief, Financial Services, Fintech, and Banking Section (via email)
       Kenneth Steinthal, Counsel to the RMLC (via email)




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